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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :
                                             :       Case No: 21-MJ-195 (ZMF)
ETHAN NORDEAN,                               :
also known as “Rufio Panman,”                :
                                             :
               Defendant.                    :


                                            ORDER

        This matter having come before the Court pursuant to the application of the United States

to unseal the case. Good cause having been shown, it is hereby ORDERED that the United

States’ motion is GRANTED, and that the case shall be unsealed.




Date:                                               HON. ZIA M. FARUQUI
                                                    UNITED STATES MAGISTRATE JUDGE
